       Third District Court of Appeal
                               State of Florida

                        Opinion filed August 21, 2024.
       Not final until disposition of timely filed motion for rehearing.

                            ________________

                            No. 3D24-1141
                  Lower Tribunal No. 24-003037-CA-01
                          ________________


                               José Yeyille,
                                    Appellant,

                                       vs.

                        The Florida Bar, et al.,
                                    Appellees.



    An Appeal from the Circuit Court for Miami-Dade County, Valerie R.
Manno Schurr, Judge.

     José Yeyille, for appellant.

      Shutts &amp; Bowen LLP, and Ricky L. Polston (Tallahassee), for appellee
The Florida Bar; Pryor Cashman LLP, and Brendan S. Everman, for
appellees ALM Global, LLC and Michael A. Mora.


Before LOGUE, C.J., and LOBREE and BOKOR, JJ.

     PER CURIAM.
     After review of José Yeyille’s initial brief, we conclude that “no

preliminary basis for reversal has been demonstrated.” Fla. R. App. P.

9.315(a). Accordingly, we summarily affirm the order(s) on review.

     Affirmed.




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